                  IN THE UNITED STATES DISTRICT COURT
       FOR THE EASTERN DISTRICT OF TENNESSEE – NORTHERN DIVISION


 WESTFIELD NATIONAL INSURANCE
 COMPANY
 ONE PARK CIRCLE
 WESTFIELD CENTER, OH 44251

        and                                            CIVIL ACTION NO.:
 UNITED STATES LIABILITY INSURANCE                     JURY DEMAND
 GROUP                                                 ENDORSED HEREON
 1190 DEVON PARK DRIVE
 WAYNE, PA 19087

                PLAINTIFFS
        v.

 STEVE MCRAE D/B/A MCRAE PLUMBING
 & EXCAVATING
 6444 ASHEVILLE HIGHWAY
 KNOXVILLE, TN 37924

                DEFENDANT


                                          COMPLAINT
       Plaintiffs, Westfield National Insurance Company and United States Liability Insurance

Group, by and through their undersigned counsel, hereby demand judgment against the Defendant,

Steve McRae d/b/a McRae Plumbing & Excavating, and complain against them as follows:

                                             PARTIES

       1.      Westfield National Insurance Company (hereinafter collectively “Plaintiffs” or

“Westfield”) is a commercial entity organized and existing under the laws of the State of Ohio, with

its principal place of business located at One Park Circle, Westfield Center, OH 44251.

       2.      At all times relevant hereto, Westfield was duly authorized to engage in the business

of (inter alia) property insurance in Tennessee.


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         3.    At all times relevant hereto, Westfield provided property insurance, inter alia, to

Pembroke Condominium Association (hereinafter “Pembroke”) in connection with the property

located at 508 Union Avenue, Unit 405, Knoxville, TN 37902 (hereinafter the “subject property”),

under a policy of insurance that was in full force and effect on all relevant dates, and at all relevant

times.

         4.    In the wake of the water damage described below, as a result of a claim made on

said policy (which was duly paid pursuant thereto), Westfield became subrogated to certain

recovery rights and interests of Pembroke for monies paid thereunder, including the claims giving

rise to the within cause of action.

         5.    United States Liability Insurance Group (hereinafter collectively “Plaintiffs” or

“USLI”) is a commercial entity organized and existing under the laws of the Commonwealth of

Pennsylvania, with its principal place of business located at 1190 Devon Park Drive, Wayne, PA

19087.

         6.    At all times relevant hereto, USLI was duly authorized to engage in the business of

(inter alia) property insurance in Tennessee.

         7.    At all times relevant hereto, USLI provided property insurance, inter alia, to Joanne

Pellerano and Bob Richardson (hereinafter “Pellerano/Richardson”) in connection with the subject

property, under a policy of insurance that was in full force and effect on all relevant dates, and at

all relevant times.

         8.    In the wake of the water damage described below, as a result of a claim made on

said policy (which was duly paid pursuant thereto), USLI became subrogated to certain recovery

rights and interests of Pellerano/Richardson for monies paid thereunder, including the claims giving

rise to the within cause of action.



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        9.       Upon information and belief, the Defendant, Steve McRae d/b/a McRae Plumbing

& Excavating (hereinafter collectively “Defendant” or “McRae”), is an adult individual who does

business as McRae Plumbing & Excavating with its principal place of business located at 6444

Asheville Highway, Knoxville, TN 37924. McRae was engaged in the business of, inter alia,

plumbing work and did perform plumbing services for Plaintiff in Knox County, Tennessee, out of

which this cause of action arises.

                                           JURISDICTION

        10.      Jurisdiction is based on 28 U.S.C. §1332(a)(1) as this action involves a controversy

between citizens of different states: Westfield is an Ohio corporation with its principal place of

business located at One Park Circle, Westfield Center, OH 44251; USLI is a Pennsylvania

corporation with its principal place of business located at 1190 Devon Park Drive, Wayne, PA

19087; Defendant is a Tennessee corporation with its principal place of business located at 6444

Asheville Highway, Knoxville, TN 37924.

        11.      Venue is proper in this district based on 28 U.S.C. §1391(a) in that the events giving

rise to this claim occurred within this district.

                                         STATEMENT OF FACTS

        12.      Plaintiffs incorporate by reference the preceding paragraphs as though set forth at

length herein.

        13.      McRae was a professional plumbing company retained to install a hot

water heater at the subject property. McRae held itself out as having specialized knowledge

concerning plumbing work and held himself out as a n expert in that field.

        14.      On July 6, 2018, w a t e r damage occurred at the subject property due to a

SharkBite brand fitting becoming detached from a pex tube/piping in the inlet piping assembly of



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the hot water heater installed by McRae.

       15.       The damages sustained by Plaintiffs are the direct and proximate result of the

negligence and other liability producing conduct of Defendant, as more fully set forth below.

                                     COUNT I – NEGLIGENCE

       16.       Plaintiffs incorporate by reference the preceding paragraphs as though set forth at

length herein.

       17.       The aforementioned damages were the direct and proximate result of the

negligence, carelessness, recklessness and/or other liability producing conduct of McRae,

including negligent acts and/or omissions, as performed personally and/or by and through i t s

agents, employees and/or servants, more specifically described as follows:

                 (a) failing to exercise reasonable care in the performance of duties in the
                     installation of a hot water heater and related components at the subject property,
                     including, but not limited to, carelessly and negligently performing the
                     following:

                    (1) failing to competently install a hot water heater and related components
                        at the subject property in a safe and appropriate manner;

                    (2) failing to ensure that proper techniques were employed, and applicable safety
                        procedures followed, as to the installation of a hot water heater and related
                        components at the subject property; and/or

                    (3) failing to properly monitor the work of all agents and/or employees during
                        the installation of a hot water heating and related components to
                        ensure compliance with applicable codes.

                 (b) failing to adequately instruct, supervise and/or train servants, employees and
                     agents as to the proper ways to perform the tasks and make recommendations
                     as set forth in subparagraph (a);

                 (c) failing to adequately warn Plaintiffs of the dangers associated with failing to
                     exercise reasonable care as set forth in subparagraph (a), above;

                 (d) failing to provide, establish and/or follow proper and adequate controls so as
                     to ensure the proper performance of the tasks set forth in subparagraph (a)
                     above;

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                 (e) failing to perform their duties and tasks set forth in subparagraph (a) in
                     conformity with prevailing industry and governmental specifications and
                     standards, which include but are not limited to NFPA 211;

                 (f) failing to retain competent, qualified and/or able agents, employees or servants
                     to perform the tasks set forth in subparagraph (a) above.

       18.       As a direct and proximate result of such conduct, Plaintiffs sustained damage to their

real and personal property, as well as the imposition of additional expenses and hardship besides.

       WHEREFORE, Plaintiffs respectfully request judgment against Defendant in an amount

not greater than $140,000.00, plus costs incident to this suit, prejudgment interest, post-judgment

interest and for such other relief as this Honorable Court shall deem appropriate under the

circumstances.

                             COUNT II – BREACH OF CONTRACT

       19.       Plaintiffs incorporate by reference the preceding paragraphs as though set forth at

length herein.

       20.       In causing the damage as alleged in the preceding paragraphs, McRae breached the

terms of its contract with Plaintiffs’ subrogors to perform the above-described work at the property,

either as expressed or implied therein and/or according to law.

       21.       For its part, Plaintiffs’ subrogors performed all their obligations under the

aforementioned contract, as well as all conditions precedent to recover on this count.

       22.       As a direct and proximate result of such conduct, Plaintiffs’ subrogors sustained

damage to their real and personal property, as well as the imposition of additional expenses and

hardship besides.

       WHEREFORE, Plaintiffs respectfully request judgment against Defendant in an amount

not greater than $140,000.00, plus costs incident to this suit, prejudgment interest, post-judgment




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interest, and for such other relief as this Honorable Court shall deem appropriate under the

circumstances.

                           COUNT III – BREACH OF WARRANTIES

       23.       Plaintiffs incorporate by reference the preceding paragraphs as though set forth at

length herein.

       24.       In furtherance of the aforementioned services performed, McRae expressly

and impliedly warranted that all work performed would be done in a reasonably workman-like

manner, and/or with quality workmanship.

       25.       Based upon the aforementioned improper conduct on the part of McRae, personally

and through servants, employees, and/or agents as set forth above, McRae breached these warranties.

       26.       Plaintiffs’ subrogors have performed all conditions precedent to recover based

upon such breaches.

       27.       As a direct and proximate result of such conduct, Plaintiffs’ subrogors sustained

damage to their real and personal property, as well as the imposition of additional expenses and

hardship besides.

       WHEREFORE, Plaintiffs respectfully request judgment against Defendant in an amount

not greater than $140,000.00, plus costs incident to this suit, prejudgment interest, post-judgment

interest, and for such other relief as this Honorable Court shall deem appropriate under the

circumstances. Plaintiffs demand a jury to try this cause of action.




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       Respectfully submitted, this 9th day of JUNE, 2020.


                                     BUTLER, VINES AND BABB, PLLC



                                     By:     s:\Edward U. Babb
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                                           COST BOND

         We, the undersigned, acknowledge ourselves as Surety for costs of the clerk adjudged
 in this matter.


                                     BUTLER, VINES AND BABB, PLLC



                                     By:     s:\Edward U. Babb
                                            EDWARD U. BABB
                                            B PR #013707
                                            Attorney for Plaintiff




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